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                     IN THE UNITED STATES DISTRICT COURT
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                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division


UNITED STATES OF AMERICA                             Case No.3:21-cr-[0^ -

V.                                                  18U.S.C.§ 1956(h)
                                                    Conspiracy to Commit Money Laundering
SAUVEUR BLANCHARD JR.,                              (Count 1)

                     Defendant.                     18 U.S.C. § 1956(a)(I)(B)(i)
                                                    Money Laundering
                                                    (Counts 2-5)

                                                     Forfeiture Allegation


                                       INDICTMENT
                            July 2021 Term -Richmond, Virginia

THE GRAND JURY CHARGES THAT:

                                   Introductory Allegations


At all times material to this Indictment, unless otherwise stated:

       1.      Defendant SAUVEUR BLANCHARD JR.("BLANCHARD")was a resident of

Virginia.

       2.      Tropi,LLC("Tropi")was a Florida limited liability company formed in or about

June 2012. BLANCHARD was listed on Florida Secretary of State records as the sole member

and President of the company.

       3.      Joint Guardian,LLC ("Joint Guardian") was a Florida limited liability company

formed in or about January 2017. BLANCHARD was listed on Florida Secretary of State

records as the sole member and manager ofthe company.

       4.      Support Warrior Project, Inc. ("Support Warrior") was a Florida corporation

formed in or about March 2015. BLANCHARD was listed on Florida Secretary ofState records

as President, Treasurer, Secretary, and Director ofthe corporation.
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       5.      Tropi, Joint Guardian, and Support Warrior are collectively referred to as the

"Blanchard Sham Entities."


       6.      Financial Institutions 1, 2,3 and 4 were financial institutions that were engaged

in interstate commerce.


       7.      On or about September 19, 2019, BLANCHARD caused to be opened an

account at Financial Institution 1 in the name of Tropi (the "Tropi Financial Institution 1

Account").

       8.      On or about September 21, 2019, BLANCHARD caused to be opened an

account at Financial Institution 2 in the name of Support Warrior (the "Support Warrior

Financial Institution 2 Account").

       9.      On or about November 18, 2019, BLANCHARD caused to be opened an

account at Financial Institution 1 in the name of Joint Guardian (the "Joint Guardian Financial

Institution 1 Account").

        10.    On or about August 21, 2020, BLANCHARD caused to be opened an account

at Financial Institution 3 in the name of BLANCHARD (the "BLANCHARD Financial

Institution 3 Account").

        11.    On or about November 25, 2020, in the Eastern District of Virginia,

BLANCHARD caused to be opened an account at Financial Institution 4 in the name of

BLANCHARD (the"BLANCHARD Financial Institution 4 Account").

        12.    On or about June 8,2020,BLANCHARD caused to be opened an account in the

name of BLANCHARD at Trading Firm 1 (the "BLANCHARD Trading Firm 1 Account"), a

firm that enabled individuals to engage in online trading of securities.

        13.    In or about February 2017, BLANCHARD caused to be opened an account in

the name ofBLANCHARD at Financial Platform 1 (the"BLANCHARD Financial Platform 1

                                               2
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Account")through which individuals could transfer money from bank accounts,engage in peer-

to-peer("P2P")transactions, and invest in financial instruments including cryptocurrency.

                                           Count One
                           Conspiracy to Commit Money Laundering
                              (Violation of 18 U.S.C. § 1956(h))

        14.     Paragraphs 1-13 of this Indictment are realleged and incorporated by reference

as though frilly set forth herein.

        15.     From in or around September 2019,and continuing through at least in or around

June 2020,in the Eastern District of Virginia, and elsewhere, the defendant,

                                SAUVEUR BLANCHARD JR.,

did knowingly and intentionally, that is, with the intent to further the objects ofthe conspiracy,

combine,conspire, confederate, and agree with persons known and unknown to the Grand Jury,

        a.      to conduct and attempt to conduct a financial transaction affecting interstate and

                foreign commerce involving the proceeds of a specified unlawful activity,

                namely, wire fraud, a violation of 18 U.S.C. § 1343, and health care fraud, a

                violation of 18 U.S.C. § 1347, knowing that the transaction was designed in

                whole or in part to conceal and disguise the nature, location, source, ownership,

                and control ofthe proceeds of specified unlawful activity, and knowing that the

                property involved in the transaction represented the proceeds of some form of

                unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(B)(i); and

        b.      to knowingly engage in and attempt to engage in a monetary transaction by,

                through, and to a financial institution affecting interstate and foreign commerce

                in criminally derived property ofa value greater than $10,000,and such property

                having been derived from specified unlawful activity, namely, wire fraud, a
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                  violation of 18 U.S.C. § 1343, and health care fraud, a violation of 18 U.S.C. §

                  1347,in violation of 18 U.S.C. § 1957.

                                    Purpose ofthe Conspiracy

       16.        It was a purpose ofthe conspiracy for BLANCHARD and his co-conspirators to

unlawfully enrich themselves and others by (a) depositing and transferring the proceeds of a

scheme to defraud a health care benefit program;(b) concealing the nature, location, source,

ownership, and control of the proceeds; and (c) diverting and spending fraud proceeds for the

personal use and benefit ofthe defendant and his co-conspirators.

                               Manner and Means ofthe Conspiracy


       17.        The manner and means by which BLANCHARD and his co-conspirators sought

to accomplish the purpose of the conspiracy included, among other things, the following acts,

in the Eastern District of Virginia and elsewhere:

             a.      Defendant BLANCHARD maintained active registrations for the Blanchard

                     Sham Entities in order to open and use bank accounts in their names.

             b.      Defendant BLANCHARD opened, maintained, and used, and caused to be

                     opened, maintained, and used, bank accounts in the names ofthe Blanchard

                     Sham Entities, including accounts at financial institutions with branches in

                     the Eastem District of Virginia.

             c.      Defendant BLANCHARD did not conduct legitimate business activity in the

                     Blanchard Sham Entities' bank accounts.

             d.      Defendant BLANCHARD provided bank account information for the

                     accounts of the Blanchard Sham Entities to others for the purpose of

                     receiving the proceeds of a fraudulent scheme that targeted, through the use
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                   of interstate wire communications, a health care benefit program as defined

                   by 18 U.S.C. § 24(b)(the "Fraud Scheme").

           e.      Defendant BLANCHARD communicated with co-conspirators by interstate

                   wire and caused the co-conspirators to arrange for the deposit ofproceeds of

                   the Fraud Scheme into the Tropi Financial Institution 1 Account.

           f.      After the proceeds of the Fraud Scheme were deposited into the Tropi

                   Financial Institution 1 Account, BLANCHARD and his co-conspirators (i)

                   transferred and caused the transfer of proceeds, in the form of cashier's

                   checks, wire transfers, and electronic transfers, to the Joint Guardian

                   Financial Institution 1 Account, the Support Warrior Financial Institution 2

                   Account, the BLANCHARD Trading Firm 1 Account, and other accounts

                   owned and controlled by BLANCHARD; (ii) withdrew and caused the

                   withdrawal of cash; and (iii) purchased retail items for personal use.

       All in violation of 18 U.S.C. § 1956(h).

                                   Counts Two through Five
                             Laundering of Monetary Instruments
                      (Violations of 18 U.S.C. §§ 1956(a)(l)(B)(i) and 2)

       18.      Paragraphs 1-13 and 17 of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

       19.      On or about the dates set forth below, in the Eastern District of Virginia, and

elsewhere, the defendant,

                               SAUVEUR BLANCHARD JR.,

knowing that the property involved in the financial transaction represented the proceeds ofsome

form of unlawful activity, did conduct and attempt to conduct a financial transaction affecting

interstate and foreign commerce and involving the proceeds of specified unlawful activity.
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namely, wire fraud, a violation of 18 U.S.C. § 1343 (for Counts 2-5), and/or health care fraud,

a violation of 18 U.S.C. § 1347(for Counts 2-4), knowing that the transaction was designed in

whole or in part to conceal and disguise the nature, location, source, ownership, and control of

the proceeds of specified unlawful activity:

 Count        Approximate              Account             Approximate          Description of
                Date of                                        Amount             Financial
              Transaction                                                        Transaction
    2          6/5/2020             Joint Guardian             $55,000       Deposit of cashier's
                                 Financial Institution 1                      check into account
                                        Account
    3          6/9/2020              Joint Guardian            $5,000        Electronic transfer to
                                 Financial Institution 1                       Support Warrior
                                        Account                              Financial Institution
                                                                                  2 Account
    4          6/10/2020             Joint Guardian            $5,000        Electronic transfer to
                                 Financial Institution 1                        BLANCHARD
                                        Account                                 Trading Firm 1
                                                                                   Account
    5          12/9/2020            BLANCHARD                  $1,100             Purchase of
                                 Financial Platform 1                           cryptocurrency
                                        Account


        Each in violation of 18 U.S.C. §§ 1956(a)(l)(B)(i) and 2.

                                 FORFEITURE ALLEGATION
                                     (18 U.S.C. § 982(a)(1))

        20.    The allegations ofthis Indictment are realleged and incorporated by reference as

though fully set forth herein.

        21.    Pursuant to Rule 32.2 Fed. R. Crim. P., upon conviction for any ofthe offenses

alleged in Counts One through Five, the defendant, SAUVEUR BLANCHARD JR., shall

forfeit to the United States any property, real or personal, involved in such offense or any

property traceable to such property.

        22.    Property subject to forfeiture includes, but is not limited to, the following:
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         The sum of $83,000, representing the proceeds the defendant personally obtained as a

         result ofthe offenses of conviction.


         23.    If property subject to forfeiture cannot be located, the United States will seek an

order forfeiting substitute assets, pursuant to 21 U.S.C. §853(p).

(All in accordance with Title 18, United States Code, Section 982(a)(1) and Title 21, United
States Code, Section 853(p)).

                                                               A TRUE BILL




                                                              FOR'E^'E'RSrON
                                                                                 Pursuant to the E-Govemraent Act,
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                                                                                   undo:seal in the Qerk's Office
ACTING UNITED STATES ATTORNEY




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